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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION




    JOHN BYRON ESTUPINAN,

            Petitioner

    v.                                                                CASE NO. 8:04-CV-2398-T-30TGW
                                                                               8:03-CR-124-T-30TGW
    UNITED STATES OF AMERICA,

         Respondent.
    ______________________________/

                                                    ORDER

            This cause is before the Court on a Motion to Amend the motion to vacate, set

    aside, or correct an allegedly illegal sentence filed by Petitioner, an inmate in a Federal

    penal institution proceeding pro se,1 pursuant to 28 U.S.C. § 2255 (CV Dkt. 3). Petitioner

    was charged by indictment on April 2, 2003, with conspiracy to possess with intent to

    distribute five (5) kilograms or more of cocaine, while onboard a vessel subject to the

    jurisdiction of the United States, contrary to the provisions of 46 App. U.S.C. §§ 1903(a),

    1903(g) and 1903(j) and 21 U.S.C. § 960(b)(1)(B)(ii) (Count One); and possession with

    intent to distribute five (5) kilograms or more of a mixture or substance containing a



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              Petitioner is cautioned that although he is appearing pro se, he is required to comply with the Local
    Rules of the Middle District of Florida, the Federal Rules of Civil Procedure, and the Rules Governing Section
    2255 Proceedings. His failure to do so could result in sanctions, including dismissal of his claims. See Moon
    v. Newsome, 863 F.2d 835, 837 (11th Cir.), cert. denied, 493 U.S. 863 (1989). A copy of the Local Rules may
    be obtained at no charge by mailing a letter to the Clerk's Office. Because the Court cannot pay the mailing
    costs, you must also provide a self-addressed envelope with $3.95 postage affixed thereto. For your
    information, the Local Rules measure 8 1/2" x 11" x 1/2". A copy of the Local Rules may be found in the
    Prison Law Library. They may also be found in Florida Rules of Court available from West Group, 620
    Opperman Drive, St. Paul, Minnesota 55164. This book may also be available in the Prison Law Library.
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    detectable amount of cocaine, a Schedule II narcotic controlled substance, in violation of

    46 App. U.S.C. §§ 1903(a) and 1903(g), 18 U.S.C. § 2, and 21 U.S.C. § 960(b)(1)(B)(ii)

    (Count Two) (CR Dkt. 1). Represented by court-appointed counsel (CR Dkt. 28), Petitioner

    entered into a written plea agreement pursuant to which he agreed to enter a plea of guilty

    to Count Two of the indictment in exchange for the Government’s promise to dismiss Count

    One at sentencing (CR Dkt. 72 at 1-2). On July 3, 2003, the Court accepted Petitioner’s

    guilty plea (CR Dkt. 107). On October 3, 2003, Petitioner was sentenced to a term of 168

    months imprisonment, to be followed by a 36-month term of supervised release (CR Dkt.

    140). Judgment was entered on October 7, 2003 (CR Dkt. 141).

           Petitioner filed his § 2255 motion on November 1, 2004 (CV Dkt. 1). Petitioner's

    motion to amend his § 2255 motion is premised on two recent Supreme Court's holdings.

    See United States v. Booker, 543 U.S. __, 125 S.Ct. 738, 756 (Jan. 12, 2005) (finding that

    the mandatory nature of the federal sentencing guidelines rendered them incompatible with

    the Sixth Amendment's guarantee to the right to a jury trial); Blakely v. Washington, 542

    U.S. __, 124 S.Ct. 2531, 2537 (Jun. 24, 2004).           On February 17, 2005, the Eleventh

    Circuit entered a decision in Varela v. United States addressing the applicability of the

    Supreme Court’s decision in Blakely and Booker to cases on collateral review, holding that:

           While neither this Court nor the Supreme Court has addressed the
           retroactivity of Blakely or Booker in the context of a § 2255 motion, the
           Supreme Court's recent decision in Schriro v. Summerlin, 542 U.S. ----, 124
           S.Ct. 2519, 159 L.Ed.2d 442 (2004), is essentially dispositive. In Schriro, the
           Supreme Court concluded that the new requirement in Ring v. Arizona, 536
           U.S. 584, 122 S.Ct. 2428, 153 L.Ed.2d 556 (2002), which, like Blakely and
           Booker, is an application of Apprendi's principles, does not apply retroactively
           to cases on collateral review. Schriro, 124 S.Ct. at 2526-27.



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          In Ring, the Supreme Court concluded that an Arizona law was
          unconstitutional under Apprendi because it placed in the hands of the judge
          the power to find any one of ten aggravating factors necessary to trigger the
          death penalty. The Supreme Court in Ring concluded that the Sixth
          Amendment gave a defendant the right to have a jury find such aggravating
          sentencing factors beyond a reasonable doubt. Ring, 536 U.S. at 609, 122
          S.Ct. at 2443.

          In Schriro, the Supreme Court analyzed the Ring rule under Teague, and
          concluded that Ring's jury requirement on aggravating sentencing factors
          was a new rule of criminal procedure and not a substantive rule. Schriro, 124
          S.Ct. at 2523. The Supreme Court noted that Ring did not alter the range of
          conduct that the Arizona law subjected to the death penalty. Instead, "Ring
          altered the range of permissible methods for determining whether a
          defendant's conduct is punishable by death, requiring that a jury rather than
          a judge find the essential facts bearing on punishment." Id. The Supreme
          Court then stated that "[r]ules that allocate decisionmaking authority in this
          fashion are prototypical procedural rules. ..." Id. (emphasis added).

          The Supreme Court's statements in Schriro regarding the Ring rule also
          apply to Booker. In Booker, a majority of the Supreme Court, in an opinion
          authored by Justice Stevens, concluded that the mandatory nature of the
          Guidelines made them incompatible with the Sixth Amendment's guarantee
          to the right to a jury trial where "[a]ny fact (other than a prior conviction) which
          is necessary to support a sentence exceeding the maximum authorized by
          the facts established by a plea of guilty or a jury verdict [was not] admitted by
          the defendant or proved to a jury beyond a reasonable doubt." Booker, 125
          S.Ct. at 756; In re Anderson, 396 F.3d 1336, at 1339 (11th Cir. 2005). Similar
          to the constitutional rule announced in Ring, the constitutional rule
          announced in Booker is a "prototypical procedural rule[]." See Schriro, 124
          S.Ct. at 2523.

          A procedural decision may be applied retroactively if it establishes one of
          those rare "watershed rules of criminal procedure implicating the fundamental
          fairness and accuracy of the criminal proceeding." Schriro, 124 S.Ct. at 2524
          (quotation marks and citations omitted). In Schriro, the Supreme Court noted
          that "[t]he right to jury trial is fundamental to our system of criminal
          procedure," but the Court ultimately held that Ring's "jury-not-judge" rule was
          not a "watershed rule[ ] of criminal procedure" to be applied retroactively. Id.
          at 2526. We now join the Seventh Circuit in concluding that the same is true
          of Booker. McReynolds v. United States, 397 F.3d 479, at 480 (7th Cir. 2005)
          (concluding that Booker does not apply retroactively to cases on collateral
          review and stating that "[a]lthough the Supreme Court did not address the
          retroactivity question in Booker, its decision in Schriro v. Summerlin, 542 U.S.

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             ----, 124 S.Ct. 2519, 159 L.Ed.2d 442 (2004), is all but conclusive on the
             point").

             Therefore, as the Supreme Court concluded in Schriro, we conclude that
             Booker's constitutional rule falls squarely under the category of new rules of
             criminal procedure that do not apply retroactively to § 2255 cases on
             collateral review. See Schriro, 124 S.Ct. at 2526-27.

    400 F.3d 864, 867-68 (11th Cir. 2005) (footnote omitted). Applying the holding in Varela,

    the Court finds that granting Petitioner leave to amend his § 2255 motion would be futile.

    See Foman v. Davis, 371 U.S. 178, 182 (1962); Bryant v. Dupree, 252 F.3d 1161, 1163

    (11th Cir. 2001); Brewer- Giorgio v. Producers Video, Inc., 216 F.3d 1281, 1284 (11th Cir.

    2000) (motion to amend may be denied if amendment is futile).

             ACCORDINGLY, the Court ORDERS that Petitioner’s Motion to Amend (CV Dkt.

    3) is DENIED.

             DONE and ORDERED in Tampa, Florida on May 5, 2005.




    Copies furnished:
    Counsel/Party of Record

    SA:jsh




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